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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

 JERAD GRIMES,                                 )
 GEORGIA EMILY EDMONDSON,                      )
                                               )
                           Plaintiffs,         )
                                               )
                      v.                       )     No. 1:21-cv-02367-RLY-DLP
                                               )
 ELI LILLY AND COMPANY,                        )
 LILLY USA, LLC,                               )
                                               )
                           Defendants.         )

                     MINUTE ENTRY FOR JULY 20, 2022
                          STATUS CONFERENCE
                 HON. DORIS L. PRYOR, MAGISTRATE JUDGE

       Parties appeared by telephone for a Status Conference on July 20, 2022. The

 parties reported on the status of and future plans for discovery and potential

 settlement conference.

       This matter is scheduled for a telephonic status conference on September

 21, 2022 at 11:30 a.m. (Eastern) to discuss case status. Counsel shall attend the

 status conference by calling the designated phone number, to be provided by the

 Court via email generated by the Court's ECF system.

        Additionally, the settlement conference scheduled for September 21, 2022 is

 CONTINUED to October 24, 2022 at 9:30 a.m. (Eastern) in Room 255, United

 States Courthouse, 46 East Ohio Street, Indianapolis, Indiana, before Magistrtate

 Judge Doris Pryor.
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         Unless excused by order of the court, clients or client

 representatives with complete authority to negotiate and communicate a

 settlement shall attend the settlement conference along with their counsel.

 This requires the presence of each party, or the authorized representative of each

 corporate, governmental, or other organizational entity. Any legal entity and/or any

 insurance company that is a party, or is contractually required to defend or

 indemnify any party, in whole or in part, must have a fully authorized settlement

 representative present at the conference. That representative must have final

 settlement authority to commit the company to pay, in the representative's own

 discretion, the amount of plaintiff's most recent demand, or in the case of the

 representative of an insurance company that is not a party, the total amount within

 any policy limits, if such amount is lower than the plaintiff's most recent demand. 1

 The purpose of this requirement is to have in attendance a representative who has

 the authority to exercise discretion to settle the case during the settlement

 conference without consulting someone else who is not present.

         In addition, unless excused by written order of the court, every individual

 party, and an officer (President, Vice President, Treasurer, Secretary, CFO, CEO or




 1  A representative of a corporate party or an insurance company who has any predetermined limits upon
 the extent of their authority to resolve this matter fails to satisfy this requirement. The purpose of this
 requirement is to ensure that each legal entity and insurance company participating in the proceeding has
 present a representative who can listen to the arguments and other discussion which take place during
 the settlement conference and make a full and independent determination regarding the appropriate
 settlement value of the case without reference to any person or group of persons not present at the
 settlement conference and who can articulate the reasons for such determination to the Court based
 upon their sole and independent judgment.
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 COO) of every corporate entity that is a party, shall attend the settlement

 conference.

       No other persons are permitted to attend the settlement conference

 without leave of court.

       On or before five (5) business days before the settlement conference,

 the parties shall submit (not file) a confidential settlement statement

 setting forth a brief statement of: (1) relevant facts, including any key facts that

 the party believes are admitted or in dispute; (2) damages, including any applicable

 back pay, mitigation, compensatory and/or punitive damages, or any other special

 damages; (3) the existence of any applicable liens; and (4) any pending or

 anticipated dispositive or other substantive motions and citation to controlling

 precedent in support of their respective legal positions. The confidential settlement

 statement should not exceed five pages, and submission of exhibits should be kept

 to a minimum. Confidential settlement statements should be submitted via

 email to MJPryor@insd.uscourts.gov. There is no need to follow any email

 submission with a hard copy.

       No later than sixty (60) days before the settlement conference,

 Plaintiff(s) shall serve a settlement demand on Defendant(s), which demand

 shall include a breakdown of any special damages sought by the Plaintiff(s), as well

 as a detailed explanation of the basis for any other amounts claimed in the demand

 (the "Demand"). The Demand should represent the actual initial good faith

 negotiating position of the Plaintiff(s) at the time it is made. No later than forty-
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 five (45) days before the settlement conference, Defendant(s) shall serve a

 good faith response to the Demand. Such response should represent the actual

 initial good faith negotiating position of the Defendant(s) at the time it is made.

 The parties shall submit (not file) courtesy copies of their respective

 demand and response to the Court at the time of service. These should be

 emailed to the Magistrate Judge at MJPryor@insd.uscourts.gov.

         If the amount of the offer made by Defendant(s) is less than the

 lesser of (a) $5000 or (b) five percent of the Demand, then at the time such

 offer is forwarded to Plaintiff(s) and the Court, Defendant(s) shall also submit to the

 Court (but not serve on any other party) a confidential statement explaining the

 basis for its offer and setting forth in detail how the amount of the offer made

 constitutes a good faith offer in the circumstances of the matter. Likewise, if it is

 Defendant(s) intent to offer at the settlement conference a total amount of no more

 than twenty percent of the amount of the Demand to finally settle the case,

 Defendant(s) shall also submit to the Court (but not serve on any other party), no

 later than forty-five (45) days before the settlement conference, a confidential

 statement explaining the basis for any limitations in its intended final settlement

 position and setting forth in detail how the amount of any such limitation

 constitutes a good faith settlement position in the circumstances of the matter. 2




 2 The intent of this requirement is not to place any artificial requirements or limitations upon any of the
 parties' settlement positions, or to establish any limitations as to what a good faith settlement of this
 matter might entail. Rather, the intent of this requirement is to provide information to the Court regarding
 the viability of the settlement conference sufficiently in advance of the settlement conference to allow the
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 These submissions should also be emailed to the Magistrate Judge at

 MJPryor@insd.uscourts.gov.

         If, after the making of the demand and/or offer set forth above, an event

 occurs or information is discovered that materially alters the settlement position of

 any party, then a revised demand and/or offer shall be immediately proffered and

 any other confidential submissions to the Court that may be required in light of

 such altered settlement position(s) shall be immediately made.

         If there exist any liens or potential liens upon Plaintiff(s) potential recovery,

 Plaintiff(s)' counsel shall fully inform themselves of the nature and amount of all

 such liens and shall undertake to negotiate a resolution of such liens in advance of

 the settlement conference and shall make arrangements to be in telephonic

 communication with representatives of any such lienholders during the course of

 the settlement conference for the purpose of negotiating a final resolution of any

 such liens.

         Likewise, if there exists in the case any issue regarding the set-aside of

 certain funds from any recovery or any other issue that could affect the amount of

 money payable directly to the Plaintiff as a result of the settlement, the parties will

 address such issue in advance of the settlement conference and, to the extent

 possible, either reach an agreed resolution of such issue or develop a plan whereby

 the resolution of such issue may be achieved. The parties are instructed to jointly



 Court to schedule other matters on that date if, in the judgment of the Court, the parties are not yet in a
 position to conduct fruitful settlement negotiations.
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 prepare and submit (not file) a draft settlement agreement, noting any

 disagreement by the parties. The agreement in question should represent, to the

 extent possible in the circumstances, the final written agreement intended by the

 parties to resolve the case and should contain all material provisions that any party

 believes should be contained within such document, such that the settlement

 agreement proposed can be executed in full and final settlement of the matter at the

 successful conclusion of the settlement conference. The draft settlement

 agreement shall be emailed to the Magistrate Judge in Word format at

 MJPryor@insd.uscourts.gov no later than five (5) business days before the

 settlement conference.

       A request to vacate or continue the settlement conference must be made by

 motion filed with the court no later than forty (40) days prior to the conference,

 except in exigent circumstances. These motions will be granted only for good cause.

       Failure to comply with any of the provisions in this Order may result in

 sanctions.

       If any of the deadlines set forth in this Order conflict with the requirements

 for submission of a settlement demand set forth in the Case Management Plan, the

 requirements of this Order control.

  Date: 7/22/2022
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 Distribution:

 All ECF-registered counsel of record via email
